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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLC,                                    Civil Action No. 18-cv-5622 (PKC)

      Plaintiff,
                                                            CORPORATE DISCLOSURE
v.                                                         STATEMENT BY CRAWFORD
                                                               AND O’BRIEN LLC
COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, et al.,

               Defendants.



       Pursuant to Federal Rule of Civil Procedure 7.1, Defendant states that there is no parent

corporation or publicly held corporation owning 10% or more of its membership interest.

                                             RESPECTFULLY SUBMITTED,

Dated: November 27, 2018                     /s/ Steven M. Richman/
                                             Steven M. Richman
                                             CLARK HILL PLC
                                             830 Third Avenue
                                             Suite 200
                                             New York , NY 10022
                                             Phone: (212) 709-8084

                                             210 Carnegie Center, Suite 102
                                             Princeton, NJ 08540
                                             Phone: (609) 785-2911
                                             Email: srichman@clarkhill.com
                                             Counsel for Defendant Crawford and O’Brien LLC




                                CERTIFICATE OF SERVICE

        I, Steven M. Richman, of full age, certify that on September 24, 2018, I caused a copy of
this Disclosure Statement to be served via ECF on all counsel of record registered for electronic
service.

                                                    s/Steven M. Richman/


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